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United States District Court

NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
ERNEST EDSEL §
v. CIVIL ACTION NO. 3:21-CV-1556-5-BN
TRAVIS W. BERKLEY, et al. ;

ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

The United States Magistrate Judge made findings, conclusions, and a recommendation in
this case [ECF No. 16]. No objections were filed. The Court reviewed the proposed findings,
conclusions, and recommendation for plain error. Finding none, the Court ACCEPTS the
Findings, Conclusions, and Recommendation of the United States Magistrate Judge.

The Court therefore DENIES Plaintiff Ernest Edsel’s Emergency Motion for Leave to
File: 28 U.S.C §§ 1651, 2283 Motion for Injunctive Relief and for Shortened Local Rule 7.1(e)
Time for Response; and, Motion to Show Cause and for Attorney Discipline [ECF No. 14] in its
entirety.

so ORDERED.

SIGNED September 24, 2021.

  

 

KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE

 

 
